        Case 2:20-cv-05477-PBT Document 10 Filed 11/03/20 Page 1 of 1




                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

KATHY BARNETTE, individually and as a           :
candidate for Pennsylvania’s 4th Congressional  :
District and on behalf of all citizen electors of
                                                : Civil Action No. 2:20-cv-05477
Berks County, Pennsylvania, et al.              :
                                                :
                               Plaintiffs,      :
            v.                                  :
                                                :
KENNETH E. LAWRENCE JR., Chair of the :
Montgomery County Board of Elections and Vice :
Chair of the Montgomery County Board of :
Commissioners, in his official capacity, et al. :
                                                :
                               Defendants.


                MOTION FOR TEMPORARY RESTRAINING ORDER

      1. Plaintiffs, Kathy Barnette and Clay Breece, by counsel, respectfully request that this

         Court grant their Motion for Temporary Restraining Order for the reasons set forth in

         the Memorandum in Support of this Motion for Temporary Restraining Order.

                                                    Respectfully Submitted,

                                                    DILLON, MCCANDLESS, KING,
                                                    COULTER & GRAHAM, LLP

                                                    By: /s/ Thomas E. Breth
                                                            Thomas E. Breth
                                                            Jordan P. Shuber
